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8                       IN THE UNITED STATES DISTRICT COURT

9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,             ) 2:13-CR-00267-TLN
                                           )
12              Plaintiff,                 ) ORDER REGARDING COMPETENCY
                                           ) EVALUATION
13        v.                               )
                                           )
14   FERLANDO CARTER,                      ) HEARING: March 26, 2015
                                           ) TIME:    9:30 a.m.
15              Defendant.                 ) COURT:   Hon. Troy L. Nunley
                                           )
16                                         )
                                           )
17

18                                        ORDER

19       On February 12, 2015, the defendant’s attorney filed a Motion to

20   Determine Competency requesting that the Court set a hearing to

21   determine the defendant’s competency to stand trial.         (Doc. 45.)   On

22   February 12, 2015, the parties appeared before the Court to argue the

23   motion.   (Doc. 46.)    During the hearing the defendant’s attorney

24   declared a doubt as to the defendant’s competency to stand trial.

25   After consideration of the arguments raised during the hearing and

26   the record to date, the Court hereby finds that there is reasonable

27   cause to believe that the defendant may presently be suffering from a

28   mental disease or defect rendering him mentally incompetent to the

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1    extent that he is unable to understand the nature and consequences of

2    the proceedings against him or to assist properly in his defense.

3    The Court hereby grants the defendant’s Motion to Determine

4    Competency.

5        Accordingly, the Court hereby ORDERS that:

6        (1)   the defendant Ferlando Carter shall submit to a mental

7              competency evaluation to assess his competency to stand

8              trial in this case;

9        (2)   the mental competency evaluation shall be conducted by: Dr.

10             John Foster, Arden Psychological Services, 1620 Executive

11             Court, Sacramento, California;

12       (3)   such evaluation shall address the legal issue of competency

13             of Ferlando Carter, Dr. Foster shall review the BOP

14             Guidelines for Forensic Evaluations and incorporate the

15             same protocol, such as the defendant’s history, behavior

16             observations, collateral observations (such as police

17             reports), medical history, psychological testing, and

18             forensic interviews;

19       (4)   the report regarding the competency evaluation shall be

20             returned to the Court by April 16, 2015;

21       (5)   time is excluded from February 12, 2015, through March 26,

22             2015, pursuant 18 U.S.C. § 3161(h)(1)(A) (Local Code A) and

23             18 U.S.C. § 3161(h)(4) (Local Code N); and

24       (6)   this matter is set for a status conference on March 26,

25             2015, at 9:30 a.m.

26   IT IS SO ORDERED.
     Dated: February 17, 2015
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                                                  Troy L. Nunley
29                                                United States District Judge
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